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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                     MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]


                                       NOTICE OF SUBMISSION

         Plaintiff Dennis Prejean on behalf of himself and others similarly situated, by and

through undersigned counsel, hereby give Notice of Submission of Plaintiff’s Motion to Strike

Certain Affirmative Defenses under Rule 12(f) pursuant to Section 216(b) of the FLSA. This

Motion is submitted for the next available hearing date before the Honorable Judge Barbier on

August 15, 2012 at 9:30 a.m.



Date: 7/05/2012

                                               Respectfully submitted,

                                                      /s/ David I. Moulton
                                               By: _____________________________
                                                      David I. Moulton
                                                      Texas State Bar No. 24051093
                                                      S.D. of Texas No. 608063
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                                               Houston, Texas 77046
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                                               dmoulton@brucknerburch.com




                                                                                       Exhibit 3
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                               CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Notice of Submission of Plaintiff’s Motion
to Strike Certain Affirmative Defenses under Rule 12(f) has been served on all counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ECF System, which
will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this 5th day of July, 2012.


                                                   /s/ David I. Moulton
                                                   ______________________________
                                                   David I. Moulton




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